

Matter of Gotlieb (2018 NY Slip Op 08419)





Matter of Gotlieb


2018 NY Slip Op 08419


Decided on December 6, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 6, 2018
[*1]
In the Matter of LAWRENCE B. GOTLIEB, an Attorney. 
(Attorney Registration No. 1951987)

Calendar Date: December 3, 2018

Before: Lynch, J.P., Clark, Mulvey, Rumsey and Pritzker, JJ.


Lawrence B. Gotlieb, Sherman Oaks, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Lawrence B. Gotlieb was admitted to practice by this Court in 1984 and lists a business address in Los Angeles, California with the Office of Court Administration. Gotlieb now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gotlieb's application.
Upon reading Gotlieb's affidavit sworn to November 9, 2018 and filed November 19, 2018, and upon reading the November 27, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Gotlieb is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Mulvey, Rumsey and Pritzker, JJ., concur.
ORDERED that Lawrence B. Gotlieb's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Lawrence B. Gotlieb's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Lawrence B. Gotlieb is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gotlieb is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Lawrence B. Gotlieb shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








